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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                  AT TOPEKA, KANSAS

LUANNE LEEDS as Executrix of the                     )
Estate of WILLIAM LEEDS, deceased,                   )
                                                     )
                Plaintiff,                           )
                                                     )
v.                                                   )
                                                     ) Case No.:    5:22-cv-4046
ALLIANZ RISKS CONSULTING, L.L.C.                     )
d/b/a                                                )
ALLIANZ GLOBAL RISKS US                              )
INSURANCE COMPANY,                                   )
                                                     )
and                                                  )
                                                     )
ASSUREDPARTNERS AEROSPACE L.L.C                      )
d/b/a AIRSURE LIMITED, L.L.C.,                       )
                                                     )
                Defendants.                          )

                                    NOTICE OF REMOVAL

To the Honorable Judge of the United States District Court for the District of Kansas:

          COMES NOW Defendant Allianz Global Risks US Insurance Company (hereinafter

“Allianz”), incorrectly identified as “Allianz Risk Consulting, L.L.C. d/b/a Allianz Global Risks

US Insurance Company”, the removing party, and for its Notice of Removal pursuant to 28 U.S.C.

§§ 1441, 1446, and 1332, respectfully states to this Court as follows:

     I.        FACTUAL BACKGROUND

          1.     This is a civil action currently pending in the District Court of Shawnee County,

Kansas under the case caption Luanne Leeds as Executrix of the Estate of William Leeds, deceased,

v. Allianz Global Risks US Insurance Company and AssuredPartners Aerospace, LLC d/b/a

Airsure Limited, LLC; Case No. 2022-CV-000447.




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         2.     Plaintiff Luanne Leeds, as Executrix of the Estate of William Leeds, deceased,

brings a breach of contract action against Defendants for recovery of alleged damages and losses

sustained by decedent Dr. William Leeds on the basis that Defendants allegedly breached their

policy of insurance with their insured, William Leeds, and acted negligently and in bad faith by

mishandling and inappropriately denying the Plaintiff’s claim for coverage of certain insurance

benefits under said policy following decedent’s death, which gives rise to this cause of action.

         3.     Defendant Allianz Global Risks US Insurance Company has not filed an Answer

to the State Court Petition as of the filing of the instant removal.

         4.     A copy of the Petition, along with all of the filings in the State Court file are

attached hereto as Exhibit A pursuant to Local Rule 81.2.

   II.        PROCEDURAL REQUIREMENTS FOR REMOVAL

         5.     The removing party is Defendant Allianz Global Risks US Insurance Company in

the above-entitled action.

         6.     Defendant Allianz Global Risks US Insurance Company was served with a copy of

the Petition on August 23, 2022, by certified mail. However, counsel for Defendant Allianz Global

Risks US Insurance Company entered their appearances for Allianz in the State court action on

August 22, 2022, before service on Allianz was effectuated on August 23, 2022. Nonetheless, this

Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b), because Defendant Allianz

Global Risks US Insurance Company filed this Notice of Removal within 30 days of service.

         7.     Written notice of the filing of this Notice of Removal is concurrently being given

to all adverse parties. A true and correct copy of this Notice of Removal and Notice of Filing of

Notice of Removal are concurrently being filed with the Clerk of the District Court of Shawnee




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County, Kansas, as required by 28 U.S.C. § 1446(d). A copy of this Notice of Filing of Notice of

Removal is attached hereto as Exhibit B.

          8.      All Defendant(s) who have been served to date have consented to removal as

required by 28 U.S.C. § 1446(b)(2). With respect to Defendant AssuredPartners Aerospace, LLC,

it is unclear whether service has been effectuated on separate defendant, as an Alias Summons was

issued in the State court action to AssuredPartners Aerospace, LLC on August 25, 2022.

Regardless, and without waiving service of Defendant AssuredPartners Aerospace, LLC, counsel

for Defendant Allianz has communicated with counsel for Defendant AssuredPartners Aerospace,

LLC, who has advised that AssuredPartners Aerospace, LLC has no objection to this removal.

          9.      Defendants have a right of removal where an action is brought in state court over

which the district court has original jurisdiction. See 28 U.S.C. § 1441(a). As set forth below, this

Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332.

   III.         DIVERSITY JURISDICTION: 28 U.S.C. § 1332

          10.     According to 28 U.S.C. § 1446(a), a notice of removal must contain a short and

plain statement of the grounds for removal. Defendant’s removal of this action is based upon

diversity of citizenship pursuant to 28 U.S.C. § 1332.

          11.     28 U.S.C. § 1332(a)(1) provides that “the district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of $75,000

. . . and is between . . . citizens of different States.” Here, complete diversity exists between the

subject parties for this Court to exercise jurisdiction over this case.

          12.     For purposes of determining diversity jurisdiction in this case, Plaintiff Luanne

Leeds, as Executrix of the Estate of William Leeds, deceased, is a resident of Kansas. Pursuant to

28 U.S.C. § 1332(c)(2), “the legal representative of the estate of a decedent shall be deemed to be



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a citizen only of the same State as the decedent”. Since Plaintiff’s claim is based on a fiduciary

breach of duty owed by Defendants to their insured, William Leeds, deceased, and Plaintiff Luanne

Leeds brings this action on behalf of the Estate of William Leeds, deceased, the citizenship of

Plaintiff, for purposes of diversity jurisdiction, is determined based on the citizenship of William

Leeds at the time of his death. See Marler v. Hiebert, 960 F. Supp. 253, 254 (D. Kan. 1997).

        13.      Based on the insurance policy attached as Exhibit A to Plaintiff’s Petition, William

Leeds is listed with an address in Topeka, Kansas. (See Plaintiff’s Petition, Plaintiff’s Exhibit A,

pg. 1). Accordingly, Plaintiff is deemed a citizen of Kansas.

        14.      Defendant Allianz Global Risks US Insurance Company 1 is a corporation that is

both incorporated and has its principal place of business in Illinois. “For the purposes of diversity

jurisdiction, the citizenship of a business entity depends on its organizational structure. If the

business is a corporation, its citizenship is both the state where it is incorporated and the state

where its principal place of business is located.” Elan Pharms., LLC v. Sexton, 421 F. Supp. 3d

1119, 1129 (D. Kan. 2019); 28 U.S.C. § 1332(c)(1). Therefore, Defendant Allianz Global Risks

US Insurance Company is deemed a citizen of Illinois.

        15.      Based on information from counsel for Defendant AssuredPartners Aerospace,

LLC, AssuredPartners Aerospace, LLC is a limited liability company which is organized under

the laws of Colorado. The sole member/parent company of AssuredPartners Aerospace, LLC is a

Delaware corporation. The laws pertaining to the citizenship of corporations do not extend to

unincorporated entities, such as LLCs or limited partnerships. Tilzer v. Davis, Bethune & Jones,

LLC & Davis, No. 03-2661-JWL, 2004 WL 825289, at *1 (D. Kan. Apr. 15, 2004). For purposes


1
  “Allianz Risks Consulting, LLC” listed in the Petition is improperly and incorrectly named as a Defendant in this
case. With respect to Allianz, Allianz Global Risks US Insurance Company is the properly listed Defendant pertaining
to the allegations in the Petition. Furthermore, Defendant Allianz Global Risks US Insurance Company is not a “d/b/a”
of Allianz Risks Consulting, LLC.

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of diversity jurisdiction, a LLC’s citizenship is the citizenship of its members. Id. Based on

information from counsel for AssuredPartners Aerospace, LLC, neither AssuredPartners

Aerospace, LLC or its sole member/parent company is a citizen of or incorporated in Kansas.

Therefore, based on information and belief, Defendant AssuredPartners Aerospace, LLC is not a

citizen of Kansas and would be deemed a citizen of Delaware.

       16.     Further, while 28 U.S.C. § 1332(c)(1) provides that in a “direct action against the

insurer of a policy or contract of liability insurance…to which action the insured is not joined as a

party-defendant, such insurer shall be deemed a citizen of…every State and foreign state of which

the insured is a citizen”, this “direct action” exception does not apply to suits brought by an insured

against his own insurer. See also Tuck v. United Servs. Auto. Ass'n, 859 F.2d 842, 847 (10th Cir.

1988) (“unless the cause of action urged against the insurance company is of such a nature that the

liability sought to be imposed could be imposed against the insured, the action is not a direct

action”) (finding “this is clearly not a direct action since the Tucks are not seeking to impose

liability on USAA for the negligence of any party insured by USAA”) (citing 13B Federal

Practice & Procedure, § 3629, at 674–75 (“direct action provision not applicable to suits…for bad

faith refusal to settle claims”); Bowers v. Continental Ins. Co., 753 F.2d 1574, 1576 (11th

Cir.), cert. denied, 473 U.S. 906, 105 S.Ct. 3531, 87 L.Ed.2d 655 (1985) (“The general rule has

always been that the direct action proviso does not affect suits brought by an insured against his

own insurer.”)).

       17.     Here, Plaintiff alleges that William Leeds, deceased, was an insured under the

subject aircraft insurance policy written by Defendant AssuredPartners and issued by Defendant

Allianz at the time of his death (which Defendants specifically deny) and, therefore, that Plaintiff

on behalf of the Estate of Williams Leeds, deceased, is entitled to insurable benefits under said



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policy. Thus, this action is brought by an insured against its own insurer and is not seeking to

impose liability in this case against the insured, which would be the Plaintiff/deceased.

Accordingly, the “direct action” statute is neither applicable to the present action, or the diversity

jurisdiction analysis, nor serves as a bar to this Court’s exercise of jurisdiction in this case.

        18.        As such, because the Plaintiff is a citizen of Kansas and Defendants are citizens of

Illinois and Delaware, this action is between citizens of different states.

        19.        In addition, the amount in controversy exceeds $75,000. Plaintiff alleges that as a

result of Defendants’ purported breach of its fiduciary duties owed to Plaintiff, and particularly the

decedent William Leeds, and bad faith in denying Plaintiff’s claim for insurance coverage/benefits

giving rise to this action, Plaintiff has sustained damages in the amount of $5,115,165.25. (See

Plaintiff’s Petition, ¶¶ 32-33). Particularly, plaintiff seeks for Defendants to satisfy the

$5,115,165.25 amount based on a judgment which was arbitrarily and prejudicially obtained in a

prior action which neither Defendant was a party to nor involved in the litigation. (See Plaintiff’s

Petition, ¶ 30).

        20.        Accordingly, this Court has original jurisdiction over this action pursuant to 28

U.S.C. § 1332, because the action is properly between joined citizens of different states and the

amount in controversy well exceeds $75,000.

        WHEREFORE, Defendant Allianz Global Risks US Insurance Company, incorrectly

identified as “Allianz Risk Consulting, L.L.C. d/b/a Allianz Global Risks US Insurance

Company”, hereby gives notice that this action is removed from the District Court of Shawnee

County, Kansas to the United States District Court for the District of Kansas, and this Defendant

further requests that this Court exercise jurisdiction over this action as though it had been originally

instituted in this Court.



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                                               Respectfully submitted,

                                               FRANKE SCHULTZ & MULLEN, P.C.

                                               /s/ John G. Schultz
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                                               ATTORNEY FOR DEFENDANT
                                               ALLIANZ GLOBAL RISKS
                                               US INSURANCE COMPANY


                                CERTIFICATE OF SERVICE
        I hereby certify that on August 31, 2022 a true and accurate copy of the foregoing was
electronically filed with the Clerk of the District Court via the Courts e-Filing system, and served
via electronic mail to:


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/s/ John G. Schultz
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